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         EXHIBIT 13
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                                            EPNTOK )+

                                            @HLKS *)() & *),*

                    JD?I;: HI7I;H :?HIG?9I 9EJGI

                  DEGI>;GD :?HIG?9I E< 97B?<EGD?7

8TU^aT IWT >^]^aPQ[T KX]RT 9WWPQaXP' @dSVT

;:L7G: >7G:;C7D'                   &
                                   &
            F[PX]cXUU'             &
                                   &
  KH)                              &     >?' 3 ).&((-*- E3
                                   &
CEDH7DIE 9ECF7DM'                  &
                                   &
            :TUT]SP]c)             &
                                   &

                               HP] <aP]RXbR^' 9P[XU^a]XP
                               IWdabSPh' CPaRW +.' ,*+3

                      CA1>B3A9@C ?6 @A?35549>7B

1@@51A1>35B4

<^a F[PX]cXUU4
                          7D:GJH L7=HI7<< F9
                          1+1+ L) 7[PbZP :aXeT
                          BPZTf^^S' 9^[^aPS^ 2*,,0
                    2G0   19=55 8' F17BC166% 1CC?A>5G 1C <1F
                          41E94 :' F??<% 1CC?A>5G 1C <1F

                          CEEG; B7L =GEJF
                          +.1- H^dcW .cW HcaTTc
                          B^dXbeX[[T' AT]cdRZh .*,*2
                    2G0   :5>>965A =??A5% 1CC?A>5G 1C <1F



            #1@@51A1>35B 3?>C9>D54 ?> 6?<<?F9>7 @175$



G;FEGI;: 8M4     CPa[P <) A]^g' GFG' 9GG
                 EUUXRXP[ GT_^acTa
        Case 3:16-md-02741-VC Document 8009-14 Filed 11/26/19 Page 3 of 4   ,+*-
                                 @A?35549>7B

 +   CMTRSJHU & =HRIM ),% )//-                               )*0+- Q'O'

 ,                            @ A ? 3 5 5 4 9 > 7 B

 -                                    &&&(((&&&

 .        %Fa^RTTSX]Vb fTaT WTPaS ^dc ^U _aTbT]RT ^U cWT Ydah4&

 /              C85 3<5A;0    9P[[X]V 9XeX[ CPccTa +0(/,/' >PaST\P] e)

 0   C^]bP]c^' Tc P[)

 1        ?U _PacXTb R^d[S _[TPbT R^\T U^afPaS P]S bcPcT cWTXa

 2   P__TPaP]RTb U^a cWT aTR^aS)

 3              C85 3?DAC0    :^]$c f^aah PQ^dc Xc)    LT P[[ Z]^f fW^

+*   TPRW ^cWTa Xb Pc cWXb _^X]c)

++        EZPh)     H^ [Tc \T (( [Tc \T faXcT P [Xbc ^U cWX]Vb cWPc fT

+,   ]TTS c^ SXbRdbb)     H^ fT WPeT 8T]Qa^^Z)     LT WPeT cWT STbXV]

+-   STUTRc XbbdT)     LT WPeT cWT HTaP[X]X bcdSh)     ? UTT[ [XZT ?$\

+.   \XbbX]V ^]T cWX]V)      D^6

+/              =B' =??A50    ? S^]$c cWX]Z b^' M^da >^]^a)     IWT ^][h

+0   ^cWTa cWX]V (( P]S cWXb RP] _a^QPQ[h R^\T X] fXcW cWT HTaP[X]X

+1   bcdSXTb)     LT fP]cTS c^ PbZ U^a b^\T R[PaXUXRPcX^] ^] cWT

+2   _^bc(dbT R^a_^aPcT R^]SdRc ad[X]Vb Ua^\ hTbcTaSPh' Qdc ? cWX]Z

+3   cWPc RP] R^\T d_ fWT] fT PaT cP[ZX]V PQ^dc HTaP[X]X Pb fT[[)

,*              C85 3?DAC0    EZPh)   F^bc(dbT R^a_^aPcT R^]SdRc ad[X]Vb

,+   Ua^\ hTbcTaSPh)    EW' ^] cWT \^cX^] X] [X\X]T)

,,              =B' =??A50    MTb' M^da >^]^a)

,-              C85 3?DAC0    7[[ aXVWc)    H^ 8T]Qa^^Z ? cWX]Z Xb TPbh)

,.   ? S^]$c ]TTS c^ WTPa P]h UdacWTa PaVd\T]c ^] Xc)

,/        IWT cWaTT (( cWT (( cWT UXabc cWaTT XcT\b cWPc (( cWPc h^d
        Case 3:16-md-02741-VC Document 8009-14 Filed 11/26/19 Page 4 of 4   ,+*.
                                 @A?35549>7B

 +   _a^_^bT c^ WPeT 8T]Qa^^Z cTbcXUh PQ^dc' ? S^ ]^c cWX]Z PaT

 ,   _a^_Ta[h cWT bdQYTRc ^U Tg_Tac cTbcX\^]h)        IWTh PaT P UPRcdP[

 -   ]PaaPcXeT)   IWT X]U^a\PcX^] cWPc h^d bPh h^d fP]c c^ VTc ^dc ^U

 .   8T]Qa^^Z' h^d bW^d[S QT PQ[T c^ ^a bW^d[S WPeT QTT] PQ[T X]

 /   ST_^bXcX^] (( QTT] PQ[T c^ VTc cWPc X]U^a\PcX^] ^dc ^U UPRc

 0   fXc]TbbTb)   H^ 8T]Qa^^Z fX[[ ]^c QT P[[^fTS c^ cTbcXUh ^] cW^bT

 1   cWaTT c^_XRb)

 2        ? P[b^ cWX]Z Xc Xb WXVW[h d][XZT[h cWPc 8T]Qa^^Z Xb

 3   `dP[XUXTS c^ cTbcXUh ^] cW^bT cWaTT c^_XRb' Qdc ? S^]$c cWX]Z

+*   Xc \PccTab QTRPdbT ? S^]$c cWX]Z cWTh PaT cWT bdQYTRc ^U Tg_Tac

++   cTbcX\^]h)

+,        IWT U^dacW c^_XR Xc bTT\b f^d[S QT cWT _a^_Ta bdQYTRc ^U

+-   Tg_Tac cTbcX\^]h' Qdc ? S^]$c bTT W^f 8T]Qa^^Z Xb `dP[XUXTS Pb

+.   P] Tg_Tac ^] cWPc c^_XR)       H^ ? fP]c c^ (( XU h^d fP]c c^ ZX]S

+/   ^U _^X]c \T c^ b^\TcWX]V X] WXb `dP[XUXRPcX^]b cWPc ? \XVWc

+0   WPeT \XbbTS' h^d Z]^f' UTT[ UaTT c^ S^ cWPc)        8dc cWPc$b aTP[[h

+1   cWT ^][h cWX]V cWPc ? f^d[S fP]c c^ SXbRdbb PQ^dc 8T]Qa^^Z)

+2            =B' F17BC1660     7[[ aXVWc)    CPh ? R^]UTa fXcW \h

+3   R^R^d]bT[ U^a Ydbc ^]T \X]dcT6

,*            C85 3?DAC0    EU R^dabT)

,+        %7 QaXTU _PdbT fPb WPS)&

,,            =B' F17BC1660     7[[ aXVWc)    ?] [XVWc ^U M^da >^]^a$b

,-   R^\\T]cb' P]S c^ Pe^XS b_T]SX]V \dRW \^aT cX\T ^] cWXb'

,.   F[PX]cXUUb fX[[ fXcWSaPf :a) 8T]Qa^^Z)

,/            C85 3?DAC0    EZPh)     H^ cWPc \TP]b cWPc CX[[b Xb ]^c
